







		NO. 12-09-00215-CR


NO. 12-09-00216-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




COREY EDMOND SIMPSON,§
	APPEALS FROM THE 114TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	These appeals are being dismissed for want of jurisdiction.  Appellant seeks to appeal the
revocation of his deferred adjudication community supervision in two cases.  Sentence was imposed
on October&nbsp;28, 2008.

	Texas Rule of Appellate Procedure 26.2 provides that an appeal is perfected when notice
of appeal is filed within thirty days after the day sentence is imposed or suspended in open court
unless a motion for new trial is timely filed.  Tex. R. App. P. 26.2(a)(1).  Where a timely motion
for new trial has been filed, notice of appeal shall be filed within ninety days after the sentence is
imposed or suspended in open court.  Tex. R. App. P. 26.2(a)(2).  Appellant did not file a motion
for new trial in either case.  Therefore, Appellant's notice of appeal was due to have been filed on
or before November 27, 2008.  However, Appellant did not file his notice of appeal until July 9,
2009 and did not file a motion for extension of time to file his notice of appeal as permitted by
Texas Rule of Appellate Procedure 26.3.  See Tex. R. App. P. 26.3 (appellate court may extend time
for filing notice of appeal if, within fifteen days after deadline for filing notice of appeal, appellant
files notice of appeal in trial court and motion complying with Texas Rule of Appellate Procedure
10.5(b) in appellate court).

	On July 13, 2009, this court notified Appellant that his notice of appeal was untimely and
that there was no timely motion for an extension of time to file the notice of appeal as permitted by
rule 26.3.  Appellant was further informed that the appeals would be dismissed unless, on or before
July 23, 2009, the information filed in the appeals was amended to show the jurisdiction of this
court. On July 23, 2009, Appellant filed a motion for extension of time to file his notice of appeal. 
However, his motion was not filed within the time specified in rule 26.3.

	Because this court has no authority to allow the late filing of a notice of appeal except as
provided by rule 26.3, the appeals must be dismissed.  See Slaton v. State, 981 S.W.2d 208, 210
(Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996). 
Accordingly, Appellant's motion for extension of time is overruled, and the appeals are dismissed
for want of jurisdiction.  

Opinion delivered July 31, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.
























(DO NOT PUBLISH)


